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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR476
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                MEMORANDUM
                                              )                 AND ORDER
EMMANUEL JACKSON,                             )
                                              )
              Defendant.                      )

       This matter is before the Court on the government‘s appeal (Filing No. 77) from the

Magistrate Judge’s order (Filing No. 75) granting the Defendant’s motion to sever count 10

from Counts 1 through 9 of the Indictment.

                                FACTUAL BACKGROUND

       Count I of the Indictment charges that on or about June 17, 2008, through on or

about September 17, 2008, the Defendants, Sheena James and Emmanuel Jackson,

conspired to make a false statement in conjunction with the acquisition or attempted

acquisition of a firearm, in violation of 18 U.S.C. § 371. Counts 2, 4, 6 and 8 charge both

defendants with making a false statement in acquiring or attempting to acquire a firearm,

in violation of 18 U.S.C. §§ 922(a)(6) and 2. Counts 3, 5, 7 and 9 charge both defendants

with transferring a firearm to a felon, in violation of 18 U.S.C. §§ 922(d)(1) and (2). Count

10 charges Emanuel Jackson with being a felon in possession of a firearm on or about

October 13,2009, in violation of 18 U.S.C. § 922(g)(1). Counts 2 through 9 charge Jackson

under the Pinkerton doctrine.
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       Magistrate Judge F.A. Gossett granted both the government’s motion to sever the

codefendants’ trials and the motion filed by Jackson to sever Count 10 from Counts 1

through 9 in his case. (Filing No. 75.)   Judge Gossett reasoned that Count 10 is

improperly joined with the other counts, stating:

       Count 10 involves an entirely separate incident in which Jackson, as
       admitted in the government's brief, was arrested for being a felon in
       possession of a firearm following the stop on October 13, 2008, of a vehicle
       in which Jackson was the front seat passenger. Based upon the smell of
       marijuana, officers searched the vehicle and found a handgun under
       Jackson's seat. No claim is made by the government that the firearm was
       among the firearms involved in Counts 1-9, no claim is made that Sheena
       James had anything to do with the acquisition of the firearm, and the October
       13, 2008, date alleged falls outside of the dates alleged in Counts 1-9.

       Because Count 10 is not the same or similar in character, is not based upon
       the same act or transaction, and does not constitute parts of a common
       scheme or plan, I find that the indictment does not reveal a basis for joinder
       of Count 10 under Fed. R. Crim. P. 8(a).

(Filing No. 75, at 2-3.)

       Judge Gossett did not reach the issue of severance. The government appeals from

the portion of Gossett’s order in which he granted Jackson’s motion.

                                       DISCUSSION

       Under 28 U.S.C. § 636(b)(1)(A) the Court has reviewed the Magistrate Judge’s

order. In an appeal from a magistrate judge's order on a pretrial matter within 28 U.S.C.

§ 636(b)(1)(A), a district court may set aside any part of the magistrate judge's order shown

to be clearly erroneous or contrary to law. 28 U.S.C. § 636(b)(1)(A).

       Under Federal Rule of Criminal Procedure 8(a), a defendant may be charged in an

indictment with multiple offenses if “the offenses are of the same or similar character,

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based on the same act or transaction, or are parts of a common scheme or plan. This rule

is interpreted broadly in favor of joinder.” United States v. Steele, 550 F.3d 693, 702 (8th

Cir. 2008). Federal Rule of Criminal Procedure 14(a) allows a court to order separate trials

if trying the counts in question together would prejudice either party.

       In viewing the “same or similar character” factor, counts are properly joined when

they “refer to the same type of offenses occurring over a relatively short period of time, and

the evidence as to each count overlaps.” United States v. Lindsey, 782 F.2d 116, 117 (8th

Cir. 1986) (quoting United States v. Shearer, 606 F.2d 819, 820 (8th Cir.1979)).

       Examples of cases in which the Eighth Circuit has found that time periods do not

violate the “relatively short period of time” factor referred to in Shearer include seventeen

and twenty months. Id.; United States v. Rodgers, 732 F.2d 625, 629 (8th Cir.1984)). In

Rodgers, the Eighth Circuit stated:

       [T]he time-period factor is to be determined on a case-by-case approach;
       there is no per se rule on when the time period between similar offenses is
       so great that they may not be joined. Indeed, that is why we have referred
       to a “ relatively short period of time” between the two offenses. The time
       period is relative to the similarity of the offenses, and the possible
       overlapping of evidence.

Rodgers, 732 F.2d at 629.

       In this case, Jackson moves for severance of Count 10 from Counts 1 through 9,

arguing that Count 10 alleges an offense outside the time and scope of the conspiracy

alleged in Count 1. Therefore, Jackson’s argument relates to severance due to alleged

prejudice rather than to improper joinder. Judge Gossett’s order relates to joinder and

does not reach the issue of severance. On appeal, the government first addresses joinder,

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arguing that all of the charges are of the same or similar character and a common scheme

or plan because they all allege that Jackson, a prohibited person, purchased or possessed

handguns. The government also argues that the time period in question is narrow, as

Count 10 alleges a date 26 days later than the latest date charged in Counts 1-9. Finally,

in addressing the severance issue, the government argues that Jackson cannot show that

the joinder of Count 10 is prejudicial because: Jackson’s status as a felon is an element

of every count; and evidence relating to Jackson’s role in the alleged conspiracy would

rebut his expected innocent-possession defense with respect to Count 10. (Filing No. 78,

at 4-5.)

Joinder

       The Court concludes that the approximate1 26-day time difference in question in this

case is not significant. Although the offense alleged in Count 10 is not an overt act of the

conspiracy charged in Count 1, Count 10 is of similar character and may be considered as

a part of a common scheme or plan insofar as all counts involve firearms.

Severance

       The Court finds that no clear prejudice would result from a joint trial of all offenses.

The felon-in-possession charge would be prior-bad-act evidence under Federal Rule of

Evidence 404(b) on any of the other nine charges. Finally, required Eighth Circuit Model

Jury Instruction 3.06 states: “Keep in mind that each count charges a separate crime. You




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           All offenses are alleged to have occurred “on or about” specified dates.

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must consider each count separately, and return a separate verdict for each count.”

Therefore, the jury instructions cure will cure any perceived prejudice.

                                     CONCLUSION

       For these reasons, the Court grants the government’s appeal and overrules the

Magistrate Judge’s order granting the Defendant Jackson’s motion to sever.

       IT IS ORDERED:

       1.     The government‘s appeal from the Magistrate Judge’s Order (Filing No. 77)

              is granted;

       2.     The Magistrate Judge’s previous order (Filing No. 75), is overruled in part;

              and

       3.     The motion to sever (Filing No. 48) filed by the Defendant, Emmanuel

              Jackson, is denied.

       DATED this 7th day of July, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




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